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                                 UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF SOUTH CAROLINA (Columbia)
IN RE:
                                                    CHAPTER 13
Alicia Haase Arnold aka Alicia Haase aka Alicia J
Arnold                                              BANKRUPTCY NO. 17-02765-dd

                                  Debtors


            NOTICE OF MOTION FOR RELIEF FROM AUTOMATIC STAY (11 U.S.C. § 362)

    TO: DEBTOR(S), TRUSTEE (if applicable), AND THOSE NAMED IN THE ATTACHED MOTION

    PLEASE TAKE NOTICE THAT a hearing will be held on the attached motion on:

    Date:       April 23, 2018
    Time:       2:00 PM
    Location:   J. Bratton Davis U.S. Bankruptcy Courthouse, 1100 Laurel Street, Columbia, SC 29201

         Within fourteen (14) days after service of the attached Motion, the Notice of Motion, the movant's
Certification of Facts, and a blank Certification of Facts form (applicable to service on pro se parties only), any
party objecting to the relief sought shall:
         1)       File with the Court a written objection to the 11 U.S.C. § 362 Motion;
         2)       File with the Court a Certification of Facts;
         3)       Serve on the movant items 1 & 2 above at the address shown below; and
         4)       File a certificate of such service with the Court.

         If you fail to comply with this procedure, you may be denied the opportunity to appear and be heard on
this proceeding before the Court.
                          DATE OF SERVICE:        March 12, 2018
                                     MOVANT:       U.S. Bank National Association

                                ATTORNEY:
                                                 /s/Ashley Z. Stanley
                                                 John B. Kelchner (#6987)
                                                 John S. Kay (#3936)
                                                 Ashley Z. Stanley (#10329)
                                                 Alan M. Stewart (#7231)
                                                 James D. Floyd (#11969)
                                                 HUTCHENS LAW FIRM
                                                 Attorneys for U.S. Bank National Association
                                                 P.O. Box 8237 (29202)
                                                 240 Stoneridge Drive, Suite 400
                                                 Columbia, SC 29210
                                                 803-726-2700
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                                                 john.kay@hutchenslawfirm.com
                                                 ashley.stanley@hutchenslawfirm.com
                                                 alan.stewart@hutchenslawfirm.com
                                                 james.floyd@hutchenslawfirm.com
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                                 IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF SOUTH CAROLINA (Columbia)
IN RE:
                                                        CHAPTER 13
Alicia Haase Arnold aka Alicia Haase aka Alicia J
Arnold                                                  CASE NO. 17-02765-dd

                    Debtors.


                                                 MOTION TO MODIFY STAY

         U.S. Bank National Association (hereinafter the “Movant”), moves the Court pursuant to 11 U.S.C. § 362
 (d)(1) for modification of the automatic stay issued in this case and represents as follows:
         1.       The above-referenced Debtor filed a petition for relief under Chapter 13 of the U.S. Bankruptcy
 Code on June 2, 2017.
         2.       Pamela Simmons-Beasley is the Trustee of the Debtor’s estate and may claim an interest in the
 property that is the subject of this action.
         3.       That on or about January 28, 2011, for a value received, Alicia H Arnold did execute and deliver
 to Midland Mortgage Corporation, a Corporation a certain promissory note in writing according to the terms and
 conditions set out therein, wherein and whereby Alicia H Arnold promised to pay to Midland Mortgage
 Corporation, a Corporation the sum of One Hundred Fifty Thousand Dollars and No Cents Dollars ($150,000.00),
 together with interest thereon at the rate of Five and 00/100 per cent (5.000%) per annum. A copy of said Note is
 attached hereto.
         4.       That in order to better secure the payments of the said note and debt, in accordance with the
 terms and conditions thereof, Alicia H Arnold and David Arnold, did execute and deliver on January 28, 2011 unto
 Mortgage Electronic Registration Systems, Inc. as nominee for Midland Mortgage Corporation, its successors and
 assigns, a mortgage recorded in Book 14709 at Page 3 on February 3, 2011 in the office of Register of Deeds of
 Lexington County, South Carolina covering property located at 166 Windsor Park Drive, Lexington, SC 29072,
 (hereinafter “Property”), and is more fully described in the mortgage, which is attached hereto.
         5.       Thereafter, by virtue of an assignment dated January 14, 2015, recorded January 21, 2015, in
 Mortgage Book 17414 at page 61, in the office of Register of Deeds of Lexington County, South Carolina,
 Mortgage Electronic Registration Systems, Inc. as nominee for Midland Mortgage Corporation., its successors
 and assigns, assigned said mortgage unto the Movant, making the Movant the present lien holder of record. A
 copy of the Assignment is attached hereto.
         6.       Debtor executed a promissory note secured by a mortgage or deed of trust. The promissory note
 is either made payable to Creditor or has been duly indorsed. Creditor, directly or through an agent, has
 possession of the promissory note. Creditor is the original mortgagee or beneficiary or the assignee of the
 mortgage or deed of trust.
         7.       In their Chapter 13 Plan, the Debtor proposed to cure the arrearage owed to Movant by entering
 into a loan modification agreement. An Order Authorizing Loss Mitigation/Mediation was entered on July 12,
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2017. Debtor failed to provide documentation sufficient to verify income, per investor and bank guidelines and
was denied for Loss Mitigation. Movant concluded its final consideration of loss mitigation or mortgage
modification and filed Mortgage Loan Modification/Loss Mitigation Report on January 2, 2018.
        8.       As of January 31, 2018, the Debtor has failed to make the regular mortgage payments outside
the plan and is due for the November 1, 2014 contractual payment and has failed to abide by her Chapter 13
Plan. If any regular monthly mortgage payments come due and owing, they too shall be incurred.
        9.       The Movant has therefore not been provided adequate protection for its interest in the Property
and is suffering irreparable harm and injury.
        10.      The Debtor has equity before exemption in the Property.
        11.      The Movant agrees to waive any claim that may arise under 11 U.S.C. Section 503(b) or Section
507(b) as a result of this Order. The Movant further agrees that any funds realized from the sale of the collateral,
in excess of all liens, costs, and expenses, will be paid to the trustee.
        WHEREFORE, pursuant to 11 U.S.C. § 362 (d) (1), the Movant hereby moves for an Order Granting
Relief from the stay for all purposes allowed by the Note, the Mortgage, and applicable law, including but not
limited to the right to foreclose allowing Movant (and any successors or assigns) to proceed under applicable non-
bankruptcy law to enforce its remedies to foreclose upon and obtain possession of the Property.

                                                   /s/Ashley Z. Stanley
                                                   John B. Kelchner (#6987)
                                                   John S. Kay (#3936)
                                                   Ashley Z. Stanley (#10329)
                                                   Alan M. Stewart (#7231)
                                                   James D. Floyd (#11969)
                                                   HUTCHENS LAW FIRM
                                                   Attorneys for U.S. Bank National Association
                                                   P.O. Box 8237 (29202)
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IN RE:
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Alicia Haase Arnold aka Alicia Haase aka Alicia J
Arnold                                                 BANKRUPTCY NO. 17-02765-dd

                                    Debtors

                                         CERTIFICATION OF FACTS

        In the above-entitled proceeding, in which relief is sought by U.S. Bank National Association from
the automatic stay provided by 11 U.S.C. § 362, I do hereby certify to the best of my knowledge the
following:

1.       Nature of Movant’s Interest.
         Secured

2.       Brief Description of Security Interest, copy attached (if applicable),
         Note secured by mortgage on Debtor’s real property.
         (Copies attached to motion)

3.       Description of Property Encumbered by Stay (include serial number, lot and block number, etc.).
         166 Windsor Park Drive, Lexington, SC 29072, County of Lexington
         (See copy of mortgage for legal description)

4.       Basis for Relief (property not necessary for reorganization, debtor has no equity, property not
         property of estate, etc.; include applicable subsection of 11 U.S.C. § 362).
         § 362 (d) (1) lack of adequate protection

5.       Prior Adjudication by Other Courts, copy attached (Decree of Foreclosure, Order for Possession,
         Levy of Execution, etc., if applicable).
         N/A

6.       Valuation of Property, copy of Valuation attached (Appraisal, Blue Book, etc.):

         Fair Market Value:                Approx. $430,000.00 per Debtor’s schedules

         Liens (Mortgages):                Approx. $178,482.67
                                                   $831.00 (HOA)

         Equity Before Exemption:          $250,686.33

         Debtor’s Exemption:               (-) $58,255.00 / $116,510.00

         Net Equity:                       $192,431.33

         Source/Basis of Value:             Debtor’s Schedules

7.       Amount of Debtor’s Estimated Equity (using figures from paragraph 6, supra). $0.00

8.       Month and Year in Which First Direct Postpetition Payment Came Due to Movant (if applicable).
         N/A
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9.     Date Received        Amount             Month/Year Applied               Suspense
       No payments have been received.

10.    Month and Year for Which Post-petition Account of Debtor is Due as of the Date of this Motion:
       November 1, 2014 contractual monthly payment



                                               /s/Ashley Z. Stanley
                                               John B. Kelchner (#6987)
                                               John S. Kay (#3936)
                                               Ashley Z. Stanley (#10329)
                                               Alan M. Stewart (#7231)
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 Alicia Haase Arnold aka Alicia Haase aka Alicia J
 Arnold                                               BANKRUPTCY NO. 17-02765-dd

                   Debtor(s)

                                       CERTIFICATE OF SERVICE

         I, the undersigned, do hereby certify that on today's date, I served on the persons below a copy of
the Notice of Motion, Motion to Modify Stay, and Movant’s Certification of Facts in the above-referenced
case by either electronic mail in accordance with U.S. Bankruptcy Court, District of South Carolina,
Operating Order 08-07, with respect to CM/ECF Participants, or depositing same in the United States Mail
with sufficient postage affixed and addressed as follows, with respect to all other persons:

Alicia Haase Arnold aka Alicia Haase aka Alicia J Arnold
166 Windsor Park Dr.
Lexington, SC 29072

Pamela Simmons-Beasley
250 Berryhill Road
Suite 402
Columbia, SC 29210

Daniel Stone
PO Box 3884
Irmo, SC 29063

David Arnold
166 Windsor Park Dr.
Lexington, SC 29072




                                                      /s/Jodie Brull
                                                      Jodie Brull
                                                      HUTCHENS LAW FIRM
                                                      Hutchens Law Firm
                                                      P.O. Box 8237
                                                      Columbia, SC 29202
                                                      (803) 726-2700

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